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 IT IS HEREBY ADJUDGED and DECREED that the
 below described is SO ORDERED.


 Dated: May 10, 2023.

                                                              __________________________________
                                                                      SHAD M. ROBINSON
                                                              UNITED STATES BANKRUPTCY JUDGE
 __________________________________________________________________
                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 IN RE:                                           §
 ASTRALABS INC                                    §
        DEBTOR                                    §    BANKRUPTCY CASE NO. 23-10164

          ORDER APPROVING POST-PETITON MONTHLY RETAINER PAYMENT
                                (Docket No. 16)

        The Court, having considered the Motion for Approval of Post-Petition Monthly Retainer

 Payments ³0RWLRQ´ , filed by Astralabs Inc ³'HEWRU´ ILQGVWKDWWKHUHOLHIUHTXHVWHGLVLQWKHEHVW

 LQWHUHVWRIWKH'HEWRU¶VHVWDWHDQGWKDWWKHPRWLRQVKRXOGEHDSSURved, it is

        ORDERED that the Debtor is authorized, pursuant to sections 327(a) of the Bankruptcy

 Code, Bankruptcy Rules 2014 and 2016, to employ and retain The Lane Law Firm, PLLC as

 bankruptcy counsel from March 7, 2023, in accordance with the terms and conditions set forth in

 the Engagement Letter attached to the Application, as may be modified by this; it is

        FURTHER ORDERED that the Debtor shall remit payment of a monthly post-petition

 retainer ³3RVW-SHWLWLRQ5HWDLQHU´ effective as of March 17, 2023, to The Lane Law Firm, PLLC

 in the amount of $4,000.00 per month for The Lane Law Firm, PLLC and an additional amount of

 $1,500.00 per month to Eric Terry, Subchapter V Trustee, until such time as a plan is confirmed

 or the case is dismissed or converted; it is
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          FURTHER ORDERED that the Debtor shall remit payment for the March and April Post-

 petition Retainer in the amount of $4,000.00 for The Lane Law Firm, PLLC and in the amount of

 $1,500.00 for Eric Terry, the Subchapter V Trustee, no later than seven (7) days following entry

 of this order; it is

          FURTHER ORDERED that subsequent Post-petition Retainer payments shall be paid no

 later than seven (7) days from the first of the month; it is

          FURTHER ORDERED that the Post-petition Retainers shall be kept at all times in a

 segregated trust account and The Lane Law Firm, PLLC or the Subchapter V Trustee shall not

 apply the funds on deposits to any fees or expenses until those amounts are approved by the Court,

 pursuant to 11 U.S.C. § 330 and Federal Rule of Bankruptcy Procedure 2016; it is

                  FURTHER ORDERED that the Court retains jurisdiction to hear and determine

 all matters arising from or related to the implementation, interpretation, or enforcement of this

 Order.

                                        ### END OF ORDER ###



 SUBMITTED BY:

 /s/Robert C. Lane
 Robert C. Lane
 State Bar No. 24046263
 notifications@lanelaw.com
 Joshua Gordon
 State Bar No. 24091592
 Joshua.gordon@lanelaw.com
 6200 Savoy, Suite 1150
 Houston, Texas 77036
 (713) 595-8200 Voice
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 PROPOSED COUNSEL FOR DEBTOR
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                                                               United States Bankruptcy Court
                                                                 Western District of Texas
In re:                                                                                                                  Case No. 23-10164-smr
ASTRALABS Inc                                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: May 11, 2023                                                Form ID: pdfintp                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 13, 2023:
Recip ID                 Recipient Name and Address
db                     + ASTRALABS Inc, 979 Springdale Road Suite #123, Austin, TX 78702-3764

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 13, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 11, 2023 at the address(es) listed below:
Name                               Email Address
Cleveland R Burke
                                   on behalf of Creditor Capitol Vending and Coffee Company cleveland.burke@hklaw.com
                                   tammy.greenblum@hklaw.com;annmarie.jezisek@hklaw.com

Eric Terry
                                   on behalf of Trustee Eric Terry eric@ericterrylaw.com ebterry@ecf.axosfs.com

Eric Terry
                                   eric@ericterrylaw.com ebterry@ecf.axosfs.com

John Mark Stern
                                   on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division bk-jstern@oag.texas.gov,
                                   sherri.simpson@oag.texas.gov

Lisa C. Fancher
                                   on behalf of Creditor 3423 Holdings lfancher@fritzbyrne.law

Robert Chamless Lane
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                                         Notice Pg 4 of 4
District/off: 0542-1                                             User: admin                                                      Page 2 of 2
Date Rcvd: May 11, 2023                                          Form ID: pdfintp                                                Total Noticed: 1
                               on behalf of Debtor ASTRALABS Inc chip.lane@lanelaw.com thelanelawfirm@jubileebk.net;notifications@lanelaw.com

Ryan Lott
                               on behalf of Creditor Athletes to Athletes Inc. thelottfirm@gmail.com

Shane P. Tobin
                               on behalf of U.S. Trustee United States Trustee - AU12 shane.p.tobin@usdoj.gov
                               Carolyn.Feinstein@usdoj.gov;gary.wright3@usdoj.gov

Shanna M Kaminski
                               on behalf of Interested Party Apex Funding Source LLC skaminski@kaminskilawpllc.com

United States Trustee - AU12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 10
